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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  COVINGTON DIVISION

 JOHN ANTONY,                                    )         Case No: 2:18-cv-00205-DLB-CJS
                                                 :
         Plaintiff,                              )         Judge David L. Bunning
                                                 :
 vs.                                             )         Magistrate Judge Candace J. Smith
                                                 :
 BUENA VISTA BOOKS, INC.                         )
                                                 :
         Defendant.                              )

  DECLARATION OF USHA C. VANCE IN SUPPORT OF MOTIONS OF DEFENDANT
   BUENA VISTA BOOKS, INC. FOR SUMMARY JUDGMENT AND TO EXCLUDE
          TESTIMONY OF PROFFERED EXPERT CEDAR BOSCHAN

         I, Usha C. Vance, declare as follows:

         1.      I am an attorney at the law firm of Munger, Tolles & Olson LLP, counsel of

 record for Defendant Buena Vista Books, Inc. (“Buena Vista”) in the above-captioned

 proceeding.

         2.      The facts set forth in this declaration are based on my personal knowledge. If

 called as a witness, I could and would competently testify to the facts contained herein. I submit

 this declaration in support of Buena Vista’s Motion for Summary Judgment and its Motion to

 Exclude Testimony of Proffered Expert Cedar Boschan.

         3.      The discovery period in this proceeding was approximately 18 months in length

 and was extended for a total of approximately seven months at Plaintiff John Antony’s

 (“Plaintiff”) request.

         4.      In response to Plaintiff’s document requests, Buena Vista produced to Plaintiff

 17,234 pages of documents.

         5.      In response to subpoenas served by Buena Vista and/or Plaintiff, the following

 third parties collectively produced 90,706 pages of documents: The Zodiac Legacy author Stuart


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 Moore (9,486 pages); The Zodiac Legacy author Stan Lee’s company, POW! Entertainment, Inc.

 (7,496 pages); William Donovan; Kathie Fong Yoneda; Erik Bauer; Walt Disney Pictures; Susan

 Antani; Parnak Kochyan; and Creative Artists Agency.

        6.      During the discovery period, the parties also conducted seven fact witness

 depositions and two expert witness depositions.

        7.      The following documents were designated “Confidential,” in whole or in part,

 under the Protective Order entered by the Court in this proceeding (R. 80) by Buena Vista,

 Plaintiff, or a third party, and are filed concurrently with this Declaration under seal: 1

                •       Exhibit I: A true and correct copy of excerpts from the Transcript of the
                        Deposition of Stuart Moore in this matter, taken on September 22, 2022.

                •       Exhibit J: A true and correct copy of excerpts from the Transcript of the
                        Deposition of Nachie Marsham in this matter, taken on October 7, 2022.

                •       Exhibit K: A true and correct copy of excerpts from the Transcript of the
                        Deposition of Stephen John Voccola, Jr. in this matter, taken on October
                        21, 2022.

                •       Exhibit L: A true and correct copy of excerpts from the Transcript of the
                        Deposition of Kim Luperi in this matter, taken on November 15, 2022.

                •       Exhibit M: A true and correct copy of excerpts from the Transcript of the
                        Deposition of Gill Champion in this matter, taken on November 28, 2022.

                •       Exhibit N: A true and correct copy of excerpts from the Transcript of the
                        Deposition of Professor David Hull in this matter, taken on September 5,
                        2023.

                •       Exhibit O: A true and correct copy of excerpts from the Transcript of the
                        Deposition of Cedar Boschan in this matter, taken on September 5, 2023.

                •       Exhibit P: A true and correct copy of the Excel spreadsheet bearing the
                        Bates number BV-00016644 and designated confidential, produced in
                        discovery by Buena Vista in this matter on September 27, 2022. Buena
                        Vista identified this document in response to an interrogatory propounded


 1
  Exhibits A through G, cited in Buena Vista’s summary judgment motion, are appended to its
 concurrently filed Request for Judicial Notice.


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                    by Plaintiff. Specifically, in Buena Vista’s Amended Responses and
                    Objections to Plaintiff’s First Set of Interrogatories (designated as Ex. 208
                    in the deposition of Cedar Boschan, and attached hereto), Buena Vista
                    responded to Interrogatory Nos. 19 and 20 (which asked for “revenues
                    received, expenses incurred, and profits realized in connection with”
                    Defendant’s Work and The Zodiac Legacy: Convergence, respectively) by
                    stating in relevant part: “Buena Vista directs Plaintiff to BV-00016644,
                    which is a document showing the revenues received, and costs and
                    expenses incurred (excluding overhead costs), in connection with”
                    Defendant’s Work and The Zodiac Legacy: Convergence, respectively.
                    The production slip sheet bearing the Bates number and confidentiality
                    designation has been appended.

              •     Exhibit 27: Exhibit 27 to the deposition of John Antony, a document
                    bearing handwritten notes produced in discovery by Plaintiff in this matter
                    bearing Bates number ANT000750, and designated confidential.

              •     Exhibit 40: Exhibit 40 to the deposition of Stuart Moore, a deck dated
                    March 6, 2013 reflecting Nachie Marsham’s proposal for a series of three
                    illustrated novels, at the time tentatively titled “THE ZODIAC.” This
                    document was produced in discovery by Mr. Moore, a non-party, in this
                    matter bearing Bates numbers SM00003733 through SM00003772, and
                    designated confidential.

              •     Exhibit 41: Exhibit 41 to the deposition of Stuart Moore, a proposal by
                    Nachie Marsham for a series of three illustrated novels, at the time
                    tentatively titled “THE ZODIAC.” This document was produced in
                    discovery by Mr. Moore, a non-party, in this matter bearing Bates
                    numbers SM00003656 through SM00003659, and designated confidential.

              •     Exhibit 42: Exhibit 42 to the deposition of Stuart Moore, an email
                    exchange between Mr. Moore and Nachie Marsham (then Nachie Castro)
                    dated June 19, 2013. This document was produced in discovery by Mr.
                    Moore, a non-party, in this matter bearing Bates numbers SM00004549
                    through SM00004564, and designated confidential.

              •     Exhibit 44: Exhibit 44 to the deposition of Stuart Moore, a document
                    titled “New Zodiac Notes” and dated September 27, 2013 through October
                    14, 2013. This document was produced in discovery by Mr. Moore, a
                    non-party, in this matter bearing Bates numbers SM00004171 through
                    SM00004174, and designated confidential.

              •     Exhibit 50: Exhibit 50 to the deposition of Stuart Moore, a letter
                    appending a fully executed agreement dated October 17, 2013 between
                    Mr. Moore and Disney Press relating to the first book of The Zodiac
                    Legacy, at the time tentatively titled “The Zodiac.” This document was
                    produced in discovery by Buena Vista in this matter bearing Bates



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                    numbers BV-00014357 through BV-00014366, and designated
                    confidential.

              •     Exhibit 51: Exhibit 51 to the deposition of Stuart Moore, a letter
                    appending a fully executed agreement dated September 21, 2015 between
                    Mr. Moore and Disney Press relating to The Zodiac Legacy: The Dragon’s
                    Return. This document was produced in discovery by Buena Vista in this
                    matter bearing Bates numbers BV-00014436 through BV-00014450, and
                    designated confidential.

              •     Exhibit 52: Exhibit 52 to the deposition of Stuart Moore, a fully executed
                    agreement dated February 3, 2016 between Mr. Moore and Disney Press
                    relating to The Zodiac Legacy: Balance of Power. This document was
                    produced in discovery by Buena Vista in this matter bearing Bates
                    numbers BV-00014409 through BV-00014421, and designated
                    confidential.

              •     Exhibit 53: Exhibit 53 to the deposition of Stuart Moore, a letter
                    appending a fully executed agreement dated March 6, 2014 between Mr.
                    Moore and Disney Press relating to “THE ZODIAC: E-Book Preview 2.”
                    This document was produced in discovery by Buena Vista in this matter
                    bearing Bates numbers BV-00014378 through BV-00014387, and
                    designated confidential.

              •     Exhibit 54: Exhibit 54 to the deposition of Stuart Moore, a letter
                    appending a fully executed agreement dated February 28, 2014 between
                    Mr. Moore and Disney Press relating to “THE ZODIAC: E-Book Preview
                    1.” This document was produced in discovery by Buena Vista in this
                    matter bearing Bates numbers BV-00014368 through BV-00014377, and
                    designated confidential.

              •     Exhibit 75: Exhibit 75 to the deposition of Stuart Moore, a deck dated
                    June 26, 2013 reflecting Nachie Marsham’s proposal for a series of three
                    illustrated novels, at the time tentatively titled “THE ZODIAC.” This
                    document was produced in discovery by Mr. Moore, a non-party, in this
                    matter bearing Bates numbers SM00003676 through SM00003731, and
                    designated confidential.

              •     Exhibit 76: Exhibit 76 to the deposition of Nachie Marsham, an email
                    exchange between Rich Thomas, Mr. Marsham, and others dated February
                    14, 2012, and appending a proposal from POW! Entertainment titled
                    “THE ZODIAC.” This document was produced in discovery by Buena
                    Vista in this matter bearing Bates numbers BV-00015565 through BV-
                    00015573, and designated confidential.

              •     Exhibit 101: Exhibit 101 to the deposition of Stephen J. Voccola, Jr., an
                    email exchange produced in discovery by POW! Entertainment, Inc., a



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                    non-party, in this matter bearing Bates number POW003746, and
                    designated confidential.

              •     Exhibit 106: Exhibit 106 to the deposition of Stephen J. Voccola, Jr., an
                    email exchange produced in discovery in this matter by POW!
                    Entertainment, Inc., a non-party, bearing Bates numbers POW003769
                    through POW003774, and designated confidential.

              •     Exhibit 128: Exhibit 128 to the deposition of Kim Luperi, an email
                    exchange produced in discovery in this matter by POW! Entertainment,
                    Inc., a non-party, bearing Bates numbers POW000274 through
                    POW000281, and designated confidential.

              •     Exhibit 141: Exhibit 141 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates numbers POW006338 through
                    POW006343, and designated confidential.

              •     Exhibit 142: Exhibit 142 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates number POW004302, and designated
                    confidential.

              •     Exhibit 143: Exhibit 143 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates number POW004296, and designated
                    confidential.

              •     Exhibit 144: Exhibit 144 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates numbers POW000554 through
                    POW000558, and designated confidential.

              •     Exhibit 145: Exhibit 145 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates numbers POW000672 through
                    POW000673, and designated confidential.

              •     Exhibit 146: Exhibit 146 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates numbers POW000712 through
                    POW000714, and designated confidential.

              •     Exhibit 147: Exhibit 147 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates number POW000731, and designated
                    confidential.



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              •     Exhibit 148: Exhibit 148 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates number POW004643, and designated
                    confidential.

              •     Exhibit 149: Exhibit 149 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates numbers POW004782 through
                    POW004786, and designated confidential.

              •     Exhibit 150: Exhibit 150 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates numbers POW004896 through
                    POW004908, and designated confidential.

              •     Exhibit 151: Exhibit 151 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates numbers POW004999 through
                    POW005023, and designated confidential.

              •     Exhibit 152: Exhibit 152 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates numbers POW002270 through
                    POW002271, and designated confidential.

              •     Exhibit 153: Exhibit 153 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates number POW006106, and designated
                    confidential.

              •     Exhibit 154: Exhibit 154 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates numbers POW003353 through
                    POW003357, and designated confidential.

              •     Exhibit 155: Exhibit 155 to the deposition of Kim Luperi, an email
                    exchange produced in discovery by POW! Entertainment, Inc., a non-
                    party, in this matter bearing Bates numbers POW003737 through
                    POW003738, and designated confidential.

              •     Exhibit 203: Exhibit 203 to the deposition of Cedar Boschan, the Expert
                    Report of Cedar Boschan disclosed by Plaintiff on July 10, 2023, and
                    designated confidential.

              •     Exhibit 205: Exhibit 205 to the deposition of Cedar Boschan, part of the
                    schedules to the Expert Report of Cedar Boschan (Ex. B) disclosed by
                    Plaintiff on July 10, 2023, and designated confidential.



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              •      Exhibit 210: Exhibit 210 to the deposition of Cedar Boschan, printouts of
                     a native Excel workbook. This document was produced in discovery by
                     Buena Vista in this matter, with the Bates number BV-00015647 and
                     confidentiality designation branded on the production slip sheet associated
                     with the native file. That slip sheet has been appended to Exhibit 210.

        8.    The following documents are attached to this Declaration:

              •      Exhibit H: A true and correct copy of excerpts from the Transcript of the
                     Deposition of John Antony in this matter, taken on September 13, 2022.

              •      Exhibit 11: Exhibit 11 to the deposition of John Antony, a typewritten
                     and handwritten document containing versions of Plaintiff’s “Character
                     Bios” and “Treatment.” This document was produced in discovery by
                     Plaintiff in this matter bearing Bates numbers ANT000319 through
                     ANT000331.

              •      Exhibit 14: Exhibit 14 to the deposition of John Antony, a placemat titled
                     “Chinese Zodiac.” This document was produced in discovery by Plaintiff
                     in this matter bearing Bates number ANT001290.

              •      Exhibit 25: Exhibit 25 to the deposition of John Antony, a set of business
                     cards. This document was produced in discovery by Plaintiff in this
                     matter bearing Bates numbers ANT001277 through ANT001278.

              •      Exhibit 28: Exhibit 28 to the deposition of John Antony, printouts of a
                     native Excel workbook with the file name 2006.expo.antony.orders.xls
                     produced by William Donovan, a non-party, in this matter bearing Bates
                     number Donovan00000062.

              •      Exhibit 200: Exhibit 200 to the deposition of David Hull, the Expert
                     Report of Professor David Hull disclosed by Buena Vista on July 10,
                     2023.

              •      Exhibit 202: Exhibit 202 to the deposition of Cedar Boschan, titled
                     “Plaintiff’s Designation of Expert and Disclosure of Expert Witness
                     Testimony,” served by Plaintiff on July 10, 2023.

              •      Exhibit 207: Exhibit 207 to the deposition of Cedar Boschan, Ms.
                     Boschan’s curriculum vitae, appended as Ex. C to the Expert Report of
                     Cedar Boschan.

              •      Exhibit 208: Excerpts from Exhibit 208 to the deposition of Cedar
                     Boschan, titled “Defendant’s Amended Responses and Objections to
                     Plaintiff’s First Set of Interrogatories” and identifying BV-00016644 in
                     response to Interrogatory Nos. 19 and 20, as described above in relation to
                     Exhibit P.



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               •       Exhibit 209: Exhibit 209 to the deposition of Cedar Boschan, a printout of
                       the blog post by Mary Adkins titled “How Much Can an Author Expect to
                       Make on Their Book?,” which was listed as a document relied upon by
                       Ms. Boschan in her expert report.



        I declare under penalty of perjury that the foregoing is true and correct, and that this

 declaration was executed on this 28th day of September, 2023, at Alexandria, Virginia.



                                                                 ____________________________

                                                                                      Usha C. Vance




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